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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 IP INNOVATION L.L.C. and
 TECHNOLOGY LICENSING CORP.,

                       Plaintiffs,

        v.                                           Civil Action No. 2:07-cv-447 (RRR)
                                                     Jury Trial Demanded
 RED HAT, INC. and
 NOVELL, INC.

                       Defendants.


        ORDER DENYING PLAINTIFFS’ MOTION IN LIMINE TO EXCLUDE
     CERTAIN EQUITABLE ISSUES FROM BEING ARGUED BEFORE THE JURY

        BEFORE THE COURT is Plaintiffs’ Motion in Limine to Exclude Certain Licenses and

 Settlement Agreements. With respect to the issue of inequitable conduct, the Court hereby

 DENIES the Motion as moot. With respect to the issue of laches, having reviewed the Motion

 and Defendants’ Response, the Court will try the issue of laches with the jury as an advisory

 jury. The trial will not be bifurcated. Thus, the Court hereby DENIES Plaintiffs’ Motion and

 will allow Defendants to present testimony and evidence to the jury regarding laches.
